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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION


    UNITED STATES OF AMERICA,

           Plaintiff,

    v.                                                   Case No. 8:14-cr-54-T-36AAS

    ROSA ENEDIA PAZOS CINGARI, and
    DOMENICO CINGARI,

           Defendants.

    ___________________________________/

           DEFENDANTS’ JOINT SENTENCING MEMORANDUM IN SUPPORT
            OF GUIDELINE OFFENSE LEVEL CALCULATION UNDER §2L2.1

           The defendants Rosa Enedia Pazos Cingari (“Mrs. Cingari”) and Domenico Cingari

    (“Mr. Cingari”) (collectively “the Cingaris”), through undersigned counsel, hereby

    respectfully submit this sentencing memorandum in support of their request that this

    Honorable Court apply USSG §2L2.11 when calculating their guidelines offense levels.

           The Cingaris were charged with substantive 18 U.S.C. § 1546 counts as well as

    conspiracy and mail fraud. The conspiracy and mail fraud counts were dependent on § 1546

    violations; i.e. there would have been no conspiracy or mail fraud but for the false statements

    in the immigration applications. Accordingly, Eleventh Circuit precedent and the Guidelines

    instruct that the Cingaris’ offense levels be calculated under §2L2.1 rather than §2B1.1. See


    1
     §2L2.1 is entitled: “Trafficking in a Document Relating to Naturalization, Citizenship, or
    Legal Resident Status, or a United States Passport; False Statement in Respect to the
    Citizenship or Immigration Status of Another; Fraudulent Marriage to Assist Alien to Evade
    Immigration Law.”


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    United States v. Kuku, 129 F.3d 1435, 1438-1441 (11th Cir. 1997) (where underlying offense

    conduct involved selling social security cards to illegal immigrants, district court should have

    applied §2L2.1 rather than §2B1.1); USSG §2B1.1(c)(3) (§2B1.1 does not apply to mail

    fraud convictions if the underlying conduct is “specifically covered by another guideline”).

                                      PROCEDURAL BACKGROUND

           1.        The original five-count Indictment (Doc. 1) charged Mrs. Cingari with

    violating § 1546 by making material false statements on United States Citizenship and

    Immigration Services (“USCIS”) forms in violation of immigration laws and regulations.

    Specifically, Mrs. Cingari was charged with:

                 Three counts related to USCIS Form I-589s (Applications for Asylum and
                  Withholding of Removal) that contained false statements regarding asylum
                  applicants’ addresses, dates of departure from Mexico, and details of
                  harm/persecution suffered; and

                 Two counts related to USCIS Form I-130s (Petitions for Alien Relatives) that
                  contained applicants’ false addresses, citizenship, and social security numbers.

           2.         The Superseding Indictment (Doc. 42) charged three additional counts, each

    based on false statements in immigration applications. Two counts charged Mrs. Cingari

    with mailing immigration applications that contained false statements in violation of § 1546,

    thereby violating 18 U.S.C. § 1341 (mail fraud). The third count charged Mrs. Cingari and

    her husband Mr. Cingari with conspiring, in violation of 18 U.S.C. § 371, to: (a) make false

    statements in immigration applications, in violation of § 1546; and (b) mail immigration

    applications that contained false statements in violation of § 1546, thereby violating § 1341.

    The charged overt acts corresponded with immigration applications containing false

    statements.



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           3.      The Second Superseding Indictment (Doc. 68) charged eight additional

    counts, each based on false statements in immigration applications. Mr. Cingari was charged

    with making false statements in two immigration applications, in violation of § 1546. Mrs.

    Cingari and Mr. Cingari were charged with mailing six immigration applications that

    contained false statements in violation of § 1546, thereby violating § 1341.

           4.      The initial PSRs (Docs. 179, 180) calculated the Cingaris’ guideline offense

    level under §2L2.1:

           Guideline              Description                           Offense Level
           §2L2.1                 Base Offense Level                    11
           §2L2.1(b)(2)(B)        25-99 Passports/Documents             +6
           §3C1.1                 Obstruction of Justice                +2
                                  Total Offense Level                   192
                                  Criminal History                      0
                                  Range (19/I)                          30-37 months

           5.      The government objected to the initial PSRs. See Addenda to Docs. 198, 200

    (Gov’t Obj. at 2-3). The government argued that §3D1.3(b) instructed that the guideline

    section with the highest offense level applied; and because the six mail fraud counts (charged

    in the Second Superseding Indictment) provided the highest offense level, §2B1.1 applied.

    See Addenda to Docs. 198, 200

           6.      The government submitted its calculations of the Cingaris’ offense levels:

           Guideline              Description                           Offense Level
           §2B1.1(a)              Base Offense Level                    7               7
           §2B1.1(b)              Specific Offense Characteristics      +22             +20
           §3A1.1(b)(1) and (2)   Large number vulnerable victims       +4              +4
           §3B1.3                 Abuse private trust/special skill     +2              +2
           §3C1.1                 Obstruction of Justice                +2              +2

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     The Cingaris do not concede that the initial PSRs calculations were correct. Rather, the
    Cingaris object to the §3C1.1 upward adjustment. Mr. Cingari objects to the lack of a
    downward adjustment for his minor role in the offense.


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                                  Total Offense Level                   37             35
                                  Criminal History                      0              0
                                  Range:                                210-262        168-210

           7.      The final PSRs adopted the government’s analysis and conclusions. (Docs.

    198, 200). After applying §2B1.1, the initial PSRs’ calculated offense level of 19 (30-37

    months) (Docs. 179, 180) shot up to a level 37 (210-262 months) for Mrs. Cingari, and a

    level 35 (168-201 months) for Mr. Cingari (Docs. 198, 200).

           8.      Increasing the Cingaris’ offense level based on a count of conviction with the

    highest guideline level irrespective of the offense conduct violates Eleventh Circuit precedent

    and the purposes of sentencing, and promotes charging decisions based on guidelines

    calculations rather than offense conduct.

                                    MEMORANDUM OF LAW

           One of the stated purposes of the Guidelines is to “limit the significance of the formal

    charging decision and to prevent multiple punishment for substantially identical offense

    conduct.”    USSG, Introductory Commentary to Part 3D, paragraph 4 (2016).                 The

    government asserted in its Sentencing Memorandum that, due to the Cingaris’ convictions of

    mail fraud, the application of §2B1.1 “should be undisputed at sentencing.” Doc. 212 at 1.

    However, “[u]nder [the Eleventh] Circuit’s precedent, a district court should look at the

    specific offense conduct underlying the conviction to ensure that the listed guideline is

    actually appropriate in each case.” United States v. Kuku, 129 F.3d 1435, 1439 n.7 (11th Cir.

    1997) (emphasis added) (citing United States v. Shriver, 967 F.2d 572, 574 (11th Cir.1992);

    United States v. Day, 943 F.2d 1306, 1307 (11th Cir.1991)).




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           The Cingaris’ offense conduct was making false statements in immigration

    applications, in violation of 18 U.S.C. § 1546. The mail fraud charges charged the Cingaris’

    with mailing the immigration applications that contained false statements – there would have

    been not crime in the mailing but for the immigration applications.        Accordingly, the

    Cingaris’ offense levels should be calculated under §2L2.1 rather than §2B1.1.

    I.     The §2B1.1(c)(3) Cross Reference Instructs That § 2B1.1 Does Not Apply

           The Background Commentary to §2B1.1 explains:

           Because federal fraud statutes often are broadly written, a single pattern of
           offense conduct usually can be prosecuted under several code sections, as a
           result of which the offense of conviction may be somewhat arbitrary…The
           specific offense characteristics and cross references contained in this
           guideline are designed with those considerations in mind.

    USSG, Background Commentary to §2B1.1, paragraph 2 (emphasis added). The

    §2B1.1(c)(3) cross reference notes that §2B1.1 will often not apply to convictions of mail

    fraud. The cross reference provides that when a defendant is “convicted under a statute

    proscribing false, fictitious, or fraudulent statements or representations generally” and the

    defendant’s offense conduct is “specifically covered by another guideline in Chapter Two,

    apply that other guideline.” §2b1.1(c)(3) (emphasis added). The application notes further

    explain:

           Subsection (c)(3) provides a cross reference to another guideline in Chapter
           Two (Offense Conduct) in cases in which the defendant is convicted of a
           general fraud statute, and the count of conviction establishes an offense
           involving fraudulent conduct that is more aptly covered by another
           guideline.

    §2B1.1 app. n. 16 (Cross Reference in Subsection (c)(3)) (emphasis added). Notably, four

    examples of “general fraud” statutes are listed; mail fraud is second. Thus, the Guidelines



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    specifically contemplate the scenario at bar, and instruct that Cingaris’ mail fraud convictions

    do not render §2B1.1 applicable. See also United States v. Rubin, 999 F.2d 194 (7th Cir.

    1993) (where defendant was convicted of criminal antitrust conspiracy for price fixing, and

    mail fraud for concealing the conspiracy, the Antitrust Offense Guideline applied rather than

    §2B1.1).

    II.    Under Similar Circumstances, the Eleventh Circuit and Other Federal Courts
           Have Held That §2.L2.1 Applies, Rather Than the Conviction with the Highest
           Guideline

           “A strict focus on the technicalities of the sentencing process obscures the

    overarching directive to match the guideline to the offense conduct which formed the basis of

    the underlying conviction.” Kuku, 129 F.3d at 1440. Accordingly, the conviction with the

    highest guideline does not apply if it is not reflective of the “primary purpose” of the offense.

    Id. at 1440 (rejecting the government’s grouping argument and remanding for resentencing

    under §2L2.1).

           Accordingly, § 2L2.1 applies when, like here, “the conduct described in § 2L2.1 more

    aptly characterizes [defendants’] offense conduct.” Id. See also United States v. Shi, 317

    F.3d 715 (7th Cir. 2003) (§2L2.1, rather than §2B1.1, applied to crime of using a counterfeit

    immigration stamp on Form 1-94 visa applications. §2B1.1 applied to forgeries generally);

    United States v. Mahmood, 26 Fed. Appx. 569, 571–72 (7th Cir. 2001) (“Section 2L2.1 is the

    most applicable guideline to offenses involving the use of counterfeit identification

    documents to violate laws relating to citizenship or legal resident status.”); United States v.

    Walker, 191 F.3d 326 (2d Cir.1999) (submitting false asylum applications on behalf of (2)

    submitting false asylum applications on behalf of immigrants,); United States v. Viera, 149



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    F.3d 7 (1st Cir.1998) (possessing a counterfeit immigration stamp); United States v. Velez,

    113 F.3d 1035, 1038 (9th Cir.1997) (section 2L2.1 is the guideline applicable to an offense

    involving the filing of false INS applications and documents on behalf of illegal aliens).

                                           CONCLUSION

           For the aforementioned reasons, the Cingaris respectfully request that this Honorable

    Court apply §2L2.1 to their offense level calculations.

    Dated this 16th day of March 2017.

                                                        Respectfully submitted

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                                 CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on March 16, 2017, I electronically filed the foregoing
    with the CM/ECF system, which will send a notice of electronic filing to:

       Stacie B. Harris, Assistant United States Attorney
       James A. Muench, Assistant United States Attorey
       Simon Alexander Gaugush

                                                      /s/ Stephen Crawford
                                                       STEPHEN CRAWFORD




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